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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:
GUADALUPE CORDOVA, JR. and          §           Case No. 09-35693
HERLINDA CORDOVA                    §           Chapter 13
Debtors,                            §           Judge Isgur
______________________________________________________________________________

GUADALUPE CORDOVA, JR. and                   §
HERLINDA CORDOVA,                            §
Plaintiffs                                   §
                                             §              Adversary No. 13-03132
vs.                                          §
                                             §
RODNEY E. UNDERWOOD and                      §
UPLIFT HOUSE f/k/a UPLIFT FOR                §
THE HOMELESS, INC.                           §
Defendants                                   §

                 RESPONSE TO MOTION FOR ENTRY OF JUDGMENT

       Plaintiffs Guadalupe Cordova, Jr. and Herlinda Cordova (the “Plaintiffs” or “Cordovas”),

debtors in the above-captioned bankruptcy case, file this Response to the Motion for Entry of

Judgment filed at docket #84.

       The motion requests entry of the attached proposed judgment.

       Counsel for the Plaintiffs disagrees with the interest rate as proposed in the judgment.

The rate of interest should be the federal judgment rate, which counsel understands at this time to

be 0.33% per annum.

       The Plaintiffs are reviewing the proposed amount of the judgment. Plaintiffs request an

additional week to review and finalize amounts.
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      DATED: August 21, 2015

                                                   Respectfully submitted,

                                                   /s/ Reese Baker
                                                   Reese Baker
                                                   TX Bar No. 01587700
                                                   Baker & Associates
                                                   5151 Katy Freeway, #200
                                                   Houston, Texas 77007
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                                                   Attorneys for Cordovas



                                  CERTIFICATE OF SERVICE


              This is to certify that a true and correct copy of Plaintiffs’ Brief was served on
August 21, 2015, as indicated to the following:

       By electronic delivery of the Clerk of Bankruptcy Court to:

        Jim Alan Adams on behalf of Intervenor Jose Luis Mata at jadamsatty@msn.com,
jessica112980@live.com

       Kenneth Barrett on behalf of Rodney Underwood at KennethRoyceBarrettLaw@Yahoo.com


                                                    /s/ Reese W. Baker
                                                    Reese W. Baker
